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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

U.S. BANK NATIONAL ASSOCIATION,          :   CIVIL ACTION NO.
                                         :
as Trustee on behalf of the Holders of the   1:20-CV-1009-TCB-JSA
Home Equity Asset Trust 2006-5 Home      :
Equity Pass-Through Certificates, Series :
2006-5,                                  :
                                         :
             Plaintiff,                  :
                                         :
             v.                          :
                                         :
SANDRA B. WILLIAMS, a/k/a/ Sandra :
Williams and all others residing at 2736 :
Lakeside Drive SW, Conyers, GA 30094,    :
                                         :   ORDER AND FINAL REPORT
             Defendants.                 :   AND RECOMMENDATION

      Defendant Sandra B. Williams, proceeding pro se, seeks leave under 28

U.S.C. § 1915(a)(1) to remove this action to this Court in forma pauperis, without

prepaying applicable fees and costs. Defendant’s Application to Proceed in District

Court without Prepaying Fees or Costs [1] indicates that Defendant is unable to pay

the filing fee or incur the costs of this action. The requirements of 28 U.S.C.

§ 1915(a)(1) are thus satisfied and Defendant’s Application to Proceed in District

Court without Prepaying Fees or Costs [1] is GRANTED. This action shall therefore

proceed as any other civil action and Defendant is allowed to proceed without

prepayment of a filing fee.
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      Pursuant to 28 U.S.C. § 1447, if at any time before final judgment it appears

that this Court lacks subject matter jurisdiction over an action that has been removed

from a state court, this Court must remand the action. See 28 U.S.C. § 1447(c). The

Court must therefore examine Defendant’s “Notice of Removal and federal Stay of

Dispossessory Action Pursuant to 28 USCA 1446(d)” [1-1] (“Notice”) and “Petition

for Removal of Action & Answer” [1-2] (“Petition”) to determine whether this Court

has jurisdiction over Plaintiff’s claims. “In removal cases, the burden is on the party

who sought removal to demonstrate that federal jurisdiction exists.” Kirkland v.

Midland Mortg. Co., 243 F.3d 1277, 1281 n.5 (11th Cir. 2001).

      Under 28 U.S.C. § 1331, “[t]he district courts shall have original jurisdiction

of all civil actions arising under the Constitution, laws, or treaties of the United

States.” 28 U.S.C. § 1331. Under 28 U.S.C. § 1441, a defendant may remove a civil

action to a district court on the basis of such federal question jurisdiction. See 28

U.S.C. § 1441(a). The Supreme Court has held that the presence or absence of

federal question jurisdiction is governed by the “well-pleaded complaint” rule. That

rule provides that federal jurisdiction exists only when a federal question is presented

on the face of the state-court plaintiff’s properly-pleaded complaint. See Gully v.

First Nat’l Bank, 299 U.S. 109, 112–13 (1936). See also Anderson v. Household Fin.

Corp., 900 F. Supp. 386, 388 (M.D. Ala. 1995).



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      The Court has reviewed the record and determined that the Defendant has not

established federal question jurisdiction. Defendant does not appear to contend that

Plaintiff has asserted any federal claims in the subject state-court action. Rather,

Plaintiff has brought a dispossessory action against Defendant in the Magistrate

Court of Rockdale County, see Notice [1-1] at 4, a proceeding that is governed by

state law which does not typically implicate federal law. Defendant has not identified

any federal question that the state-court dispossessory action raises that would allow

removal to this Court under 28 U.S.C. § 1441.

      Defendant claims that Plaintiff’s state-court action violates her rights under

the Fourteenth Amendment to the United States Constitution and the Real Estate

Settlement Procedures Act, 12 U.S.C. §§ 2601, et seq. See Notice [1-1] at 1; Petition

[1-2] at 1. But attempting to remove this action based on defenses or counterclaims

that invoke federal law is an improper basis for removal. Under the well-pleaded

complaint rule, federal defenses and counterclaims are not sufficient to confer

jurisdiction on this Court to hear an action removed from a state court. See Fed. Land

Bank of Columbia v. Cotton, 410 F. Supp. 169, 170 n.1 (N.D. Ga. 1975)

(“Defendants’ defense and counterclaim relating to truth-in-lending violations are

clearly not sufficient to confer subject-matter jurisdiction upon this court for the

entire action”).



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      Defendant has not alleged that this Court has diversity jurisdiction over this

action. See 28 U.S.C. § 1332(a). But even if Defendant had alleged diversity as a

basis for jurisdiction, diversity between parties does not provide a basis for removal

to federal court if any of the properly joined defendants is a citizen of the state in

which the action is brought. See 28 U.S.C. § 1441(b)(2). Defendant resides in

Conyers, Georgia and has not indicated that she is a citizen of another state. See

Notice [1-1] at 1. Thus, this action may not be removed on the basis of diversity

jurisdiction.

      Accordingly, while Defendant’s Application to Proceed in District Court

without Prepaying Fees or Costs [1] is GRANTED, for the reasons discussed, the

Court RECOMMENDS that this action be REMANDED to the Magistrate Court

of Rockdale County. As this is a Final Report and Recommendation, there is nothing

further in this action pending before the undersigned. Accordingly, the Clerk is

DIRECTED to terminate the reference of this matter to the undersigned.

      IT IS SO ORDERED and RECOMMENDED this 10th day of March, 2020.


                                       __________________________________
                                       JUSTIN S. ANAND
                                       UNITED STATES MAGISTRATE JUDGE




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